         Case 3:20-cr-00003-DHB-BKE Document 318 Filed 08/17/22 Page 1 of 3
             USCA11 Case: 21-13929 Date Filed: 08/15/2022 Page: 1 of 1


                         UNITED STATES COURT OF APPEALS
                            FOR THE ELEVENTH CIRCUIT
                            ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                          56 Forsyth Street, N.W.
                                          Atlanta, Georgia 30303

David J. Smith                                                                     For rules and forms visit
Clerk of Court                                                                     www.ca11.uscourts.gov


                                        August 15, 2022

Clerk - Southern District of Georgia
U.S. District Court
Federal Justice Center
600 JAMES BROWN BLVD
AUGUSTA, GA 30901

Appeal Number: 21-13929-GG
Case Style: USA v. James Lampkin
District Court Docket No: 3:20-cr-00003-DHB-BKE-1

A copy of this letter, and the judgment form if noted above, but not a copy of the court's
decision, is also being forwarded to counsel and pro se parties. A copy of the court's decision
was previously forwarded to counsel and pro se parties on the date it was issued.

The enclosed copy of the judgment is hereby issued as mandate of the court. The court's opinion
was previously provided on the date of issuance.

Sincerely,

DAVID J. SMITH, Clerk of Court

Reply to: Lois Tunstall
Phone #: (404) 335-6191

Enclosure(s)
                                                                    MDT-1 Letter Issuing Mandate
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          USCA11 Case: 21-13929 Date Filed: 08/15/2022 Page: 1 of 2




                                          In the
                     United States Court of Appeals
                                For the Eleventh Circuit
                                 ____________________

                                       No. 21-13929
                                 ____________________

           UNITED STATES OF AMERICA,
                                                            Plaintiff-Appellee,
           versus
           JAMES LAMPKIN,
           a.k.a. Pookie,


                                                         Defendant-Appellant.


                                 ____________________

                        Appeal from the United States District Court
                           for the Southern District of Georgia
                        D.C. Docket No. 3:20-cr-00003-DHB-BKE-1
                                 ____________________

                                       JUDGMENT




ISSUED AS MANDATE: 08/15/2022
      Case 3:20-cr-00003-DHB-BKE Document 318 Filed 08/17/22 Page 3 of 3
          USCA11 Case: 21-13929 Date Filed: 08/15/2022 Page: 2 of 2




           2                                                            21-13929

           It is hereby ordered, adjudged, and decreed that the opinion is-
           sued on this date in this appeal is entered as the judgment of this
           Court.
                                   Entered: July 15, 2022
                        For the Court: DAVID J. SMITH, Clerk of Court




ISSUED AS MANDATE: 08/15/2022
